          Case 3:22-cv-01559-LB Document 14 Filed 03/21/22 Page 1 of 2



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 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9                                SAN FRANCISCO DIVISION
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     JOHN DOE 1, JOHN DOE 2, and JOHN DOE          Case No. 3:22-CV-01559-LB
11   3, individually and on behalf of all others
     similarly situated,
12
                   Plaintiffs,                     [PROPOSED] ORDER GRANTING
13                                                 PLAINTIFFS’ MOTION TO
     v.                                            PROCEED ANONYMOUSLY
14
     NATIONAL COLLEGIATE ATHLETIC                  Action Filed: March 11, 2022
15   ASSOCIATION, THE UNIVERSITY OF SAN            Trial Date: None
     FRANCISCO, ANTHONY N. (AKA NINO)
16   GIARRATANO, and TROY NAKAMURA,

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                   Defendants.
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                                                                              [PROPOSED] ORDER
                                                                        CASE NO. 3:22-CV-01559-LB
         Case 3:22-cv-01559-LB Document 14 Filed 03/21/22 Page 2 of 2



 1          Plaintiffs John Doe 1, John Doe 2, and John Doe 3 (“Plaintiffs”), individually and on

 2   behalf of themselves and all others similarly situated, filed a Motion to Proceed Anonymously.

 3          Having considered the Motion and all other relevant materials, and good cause appearing

 4   therefore,

 5          IT IS HEREBY ORDERED that the relief sought by the Motion is granted: Plaintiffs John

 6   Doe 1, John Doe 2, and John Doe 3 shall proceed anonymously.

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 8              March 21 2022
      Dated: ____________,
                                                      HONORABLE LAUREL BEELER
 9                                                 UNITED STATES MAGISTRATE JUDGE
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                                                                                       [PROPOSED] ORDER
                                                    -1-                          CASE NO. 3:22-CV-01559-LB
